                                          Case 3:22-cv-05416-WHO Document 49 Filed 11/01/22 Page 1 of 1




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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                 NORTHERN DISTRICT OF CALIFORNIA

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                                   7     COMMODITY FUTURES TRADING                         Case No. 3:22-cv-05416-WHO
                                         COMMISSION,
                                   8                    Plaintiff,                         GRANTING MOTION FOR LEAVE TO
                                   9                                                       FILE AMICUS BRIEF AND
                                                 v.                                        RESETTING HEARING DATE
                                  10
                                         OOKI DAO,                                         Re: Dkt. No. 45
                                  11                    Defendant.
                                  12
Northern District of California
 United States District Court




                                  13          Andreessen Horowitz, also known as “a16z,” filed a motion for leave to file an amicus
                                  14   brief and to participate in the upcoming hearing in this case. [Dkt. No. 45]. The plaintiff CFTC
                                  15   filed a response stating it does not oppose the motion and requesting an additional week to
                                  16   respond to the amicus briefs. [Dkt. No. 46].
                                  17          Andreessen Horowitz’s motion for leave to file an amicus brief and to participate at the
                                  18   hearing is GRANTED. Per the CFTC’s request, the briefing and hearing schedule for this case is
                                  19   postponed by one week. The CFTC shall file its response to the amici briefs by November 14,
                                  20   2022. Any reply from the amici is now due November 21, 2022. The hearing will now be on
                                  21   December 7, 2022, at 2:00 p.m. via Zoom videoconference.
                                  22          IT IS SO ORDERED.
                                  23   Dated: November 1, 2022
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                                                                                                   William H. Orrick
                                  26                                                               United States District Judge
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